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Attorney for Plaintiff


             IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                         MISSOULA DIVISION
                                 )
FOREST SERVICE EMPLOYEES         ) CV-22-168-M-DLC
FOR ENVIRONMENTAL ETHICS, )
                                 ) PLAINTIFF’S MOTION FOR
         Plaintiff,              ) SUMMARY JUDGMENT
                                 )
     vs.                         )
                                 )
UNITED STATES FOREST             )
SERVICE,                         )
                                 )
                Defendant.       )
                                 )


      In this matter, Plaintiff Forest Service Employees for Environmental Ethics

(FSEEE) challenges the actions of Defendant United States Forest Service on the

agency’s discharge of aerial fire retardant into navigable waters of the United

States in violation of the Clean Water Act. See Dkt#1. In its Answer, Defendant

United States Forest Service admits its violations of the Clean Water Act as alleged

in FSEEE’s Complaint. Dkt#5. FSEEE therefore now moves for summary


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judgment and asks this Court to enter judgment in favor of FSEEE, enjoin the

Forest Service from the use of chemical fire retardant in navigable waters, and

award FSEEE its fees and costs of suit.




DATED this 10th day of January, 2023.

                                              /s/ Timothy M. Bechtold
                                              BECHTOLD LAW FIRM, PLLC


                                              Attorney for FSEEE




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